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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ALLISON BAVER,                           :
                                         :
              Plaintiff,                 :
                                         :
        v.                               :     Civ. No. 24-641-JLH
                                         :
FOX CORPORATION, et al.,                 :
                                         :
              Defendants.                :

                               ORDER TO SHOW CAUSE

        At Wilmington on this 19th day of September in 2024, the case having been

removed to this Court on May 30, 2024, and Defendants having failed to answer or

otherwise plead, and Plaintiff having taken no action since the removal on May 30,

2024;

        IT IS HEREBY ORDERED that on or before October 21, 2024, Plaintiff shall

show cause why the case should not be dismissed for Plaintiff’s failure to prosecute,

pursuant to D. Del. LR 41.1.



                                               The Honorable Jennifer L. Hall
                                               United States District Judge
